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EXcerpted Depo. Tr.
Hugh T. Clements, ]r.
Vol. II

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1 most importantly, a major.
2 Q. Would you agree with me that a lieutenant has the
3 most interaction and ability to observe a sergeant in

4 the performance of their duties?

5 MR. MCHUGH: Objection.
6 Q. As opposed to the majors and captains above them?
7 MR. MCHUGH: Objection to form. You can

8 answer.

9 A. Yes.

10 Q. Okay. A lieutenant is in a better position to

11 evaluate the performance of a sergeant as opposed to a
12 captain or major, right?

13 MR. MCHUGH: Objection as to form. You

14 can answer.

15 A. Not necessarily.

16 Q. Why not?

17 A. Because of all the things I testified to.

18 It's a busy, high~volume place. The captains are very

19 engaged. The major is very engaged. The high-ranking
20 officials in the respected bureau, whether it be

21 patrol, detectives, narcotics, they're very engaged.
22 They are working sergeants. They are working majors.
23 They're engaged.

24 Q. Lieutenant D'Andrade was Sergeant Mancini's

 

25 direct supervisor, right?

 

 

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remarks about Sergeant Mancini's overall work
performance?

A. I don't. I don't recall.
Q. Deputy Chief Oates recommended that Mancini get a

zero, correct?

A. Yes.
Q. Do you recall what Deputy Chief Oates said about
Sergeant Mancini's overall work performance?

A. At that meeting, no.
Q. What about after the meeting?

A. Later, before he turned in the final scores,
he spoke about some of the negative things I spoke
about at the last session.

Q. Well, tell me exactly what Deputy Chief Oates
said. This is very important.

MR. MCHUGH: Move to strike, This is very
important. You can answer. Objection as to fonm.

A. I don't know exactly what Commander Oates

said. I don't.

Q. Okay. He gave Sergeant Mancini a zero, right?
A. Correct.
Q. That was the lowest possible score you could have

given him, right?
A. Yes.

Q. So tell me about the discussion you had with Tom

 

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Oates about why he is recommending the lowest possible
score to Sergeant Mancini?

MR. MCHUGH: Objection to form. You can
answer.

A. Before I turn the points in, he gave me his
sheet. I asked him what he was giving all the
candidates. He told me. He turned this sheet into me
specifically. I don't know what he said specifically.
I don‘t.

Q. Did you ask him why he was giving Mancini a zero?
A. In general, he spoke about some negative
attitude and not a team player. In specifics, I can't

tell you.
Q. Did you ask Tom Oates why you thought Mark
Mancini had a negative attitude?

A. No.

Q. Did you ask Tom Oates why he thought Mark Mancini
was not a team player?

A. No.

Q. Why not?

A. I didn't.

Q. I mean, were you surprised to see that he gave
Mancini a zero?
A. Somewhat, yes.

Q. Were you aware of any discipline that Sergeant

 

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Mancini had received during the time that he had been
a sergeant?
A. NG.
MR. MCHUGH: Objection. Not objection,
but could you read that last question back, please?
(QUESTION READ BACK)
MR. MCHUGH: Thank you.
THE WITNESS: NO.
Q. Were you aware of any civilian complaints that
were lodged against Sergeant Mancini at the time that
this zero was recommended by Mr. Oates?
A. No. During that recent time frame or during
his career?
Q. No, at the time that service points were
discussed for these candidates, were you aware of any
civilian complaints that had been lodged against
Sergeant Mancini?
A. I'm just trying to be clear. How far back?
In between that past year or in between tests?
Q. Well, you tell me, how far back do you go?
A. Traditionally, you know, in between tests or
a year or two. You know --
Q. You mean you go back a year or two or what, for
civilian complaints or all discipline?

A. Civilian complaints.

 

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Q. Okay. So were you aware of any civilian
complaints against Sergeant Mancini?
A. I was not.

Q. Okay. Did you have, were you aware -- strike

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that. Did you believe that his productivity was below

average as a police officer?

A. His activity was nonapplicable. He wasn't in

work for that period of time.

Q. Because he was on IOD, right?
A. Yes.
Q. Did you hold that against him in terms of

awarding the chief points?

A. NO.
Q. What about sick days; did Tom Oates state to you
or indicate that he was dissatisfied with Mancini's
number of sick days?

A. I don't recall.
Q. Did Tom Oates tell you that he was giving
Mancini a zero because he was on IOD status?

A. NO.

Q. Did Tom Oates express to you any negative remarks

or comments about Mancini being on IOD status?
A. No.
Q. Were you aware of any altercation that Mancini

had with Tom Oates that would have caused him to say

 

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that he had a negative attitude?

A. NO.
Q. Okay. So Tom Oates didn't give you any specific
details about why he thought Mancini had a negative
attitude and was not a team player, right?

A. Correct.
Q. You testified that you were somewhat surprised
that Mancini got a zero. So my question is, why were
you somewhat surprised?

MR. MCHUGH: Objection as to form. I
think he said he was somewhat surprised that Oates
gave him a zero.

Q. Okay. Why were you somewhat surprised that Oates
gave him a zero?

A. I'm surprised when anyone is given a zero.
That is a number that would be surprising.
Q. Okay. Do you think Deputy Chief Oates just has a
personalty, or had a personality conflict with
Mancini, just didn't like him?

A. I have no reason to believe that.
Q. Did you direct Tom Oates to recommend that
Mancini get a zero?

A. No.
Q. Do you know if someone else recommended that Tom

Oates give Mancini a zero?

 

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A. I don't.

Q. So you were surprised that he got a zero, but you
didn't try to find out why he got a zero, right?

A. In specific, no.

Q. Why not?

A. That was his final assessment. I ask for
their input, the members of the command staff in
particular.

Q. Had you ever sat in on one of these meetings
before you became Police Chief where Tom Oates was
present and filling out a score sheet?

A. Yes.

Q. Do you recall another incident where Tom Oates
recommend that a candidate get a zero?

A. I don't recall, but I would not be surprised
if he did.

Q. Why?

A. Because I think he rates people effectively,
how he feels.

Q. Is he a tough grader, in your opinion?
MR. MCHUGH: Objection to form.

A. Yes. I think he's fair.

Q. Did you have any discussions with Tom Oates about

some of the scores that he recommended for other

candidates?

 

 

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Q. Okay. Did you ask him why he gave her a, looks
like he gave her a 4.5, or did he initiate the
discussion about her, the chief points he was
recommending?

A. I'm not sure how it started, but I remember
asking him about Liz Romano.

Q. Okay. Why did you ask him about Liz Romano?

A. I thought she was a five, considered a five.
I was just wondering why or what he may know to
consider her less than a five.

Q. He only gave her a 4.5, right?

A. Right.

Q. But you didn't ask him why he thought Mancini was
a zero?

A. I did. In general, you know, he talked about
the negative aspects and not a team player. In
specifics, no, I did not.

Q. Let's go to Page 3. Whose score sheet is this?

A. Lapatin.

Q. What was his title?

A. He was a Captain.

Q. I believe you testified earlier that he was not
in charge of Mancini's district, right?

A. His district, no.

Q. Do you have any reason to believe that this is

 

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1 for sure. That's the sheet he turned in to me.
2 Q. Again, similar to Captain Lapatin, Mr. Verdi has

3 this time next to the, in the column for first name he

4 has numbers written and then checkmarks; do you see

5 that?
6 A. Yes.
7 Q. Then for Sergeant Mancini he has a three next to

8 his first name, but in the far right column he has

9 written a one. Did you have any discussions with Tom
10 Verdi about why he recommended Sergeant Mancini get a
11 one?

12 A. Not that 1 can recall specifically.

13 Q. Were you surprised that Tom Verdi recommended

14 that Mancini get a one?

15 A. Again, somewhat, yes.

16 Q. So if you were surprised, why didn't you ask him

17 why he was giving him a one?

18 A. 1 ask for the command staff's best
19 recommendation for, to forward me service points. In
20 the end, that is his final assessment. 1 don't recall

21 a specific conversation.

22 Q. That doesn’t answer my question. Why didn't you
23 ask him?

24 A. 1 may have, 1 don't recall.

25 Q. You asked Tom Oates why he gave Mancini a zero,

 

 

 

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1 right?
2 A. Right.
3 Q. But you didn't ask Mr. Verdi why he gave Mancini

4 a one?

5 A. 1 may have, 1 don't recall.

6 Q. Did Tom Verdi comment on Sergeant Mancini's work
7 performance at this meeting?

8 A. 1 don't recall specifically what he said.

9 Everybody was involved in the conversation. 1 don't
10 recall exactly what he said.

11 Q. Do you know how -~ strike that. In June of 2012
12 was Mancini working in a district that ultimately

13 reported to Verdi?

14 A. Yes.

15 Q. Do you know how long he had been working under
16 Mr. Verdi?

17 A. No.

18 Q. Okay. Do you know how long Mancini had been

19 working under Lapatin, or was he working under

20 Lapatin?

21 A. He did for, previous to Verdi, yes.

22 Q. What about Oates, had Mancini ever worked under
23 Oates?

24 A. I'm not sure.

25 Q. Wouldn't that be important information to know?

 

 

 

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1 and handwrote those numbers?

2 A. 1 don't know.

3 Q. Did you ask someone to do that?

4 A. No.

5 Q. Did you direct someone to do that?

6 A. No.

7 Q. Did someone else direct someone else to do that?

8 A. Not that I'm aware of.

9 Q. Okay. Do you have an explanation as to why some
10 of the numbers are handwritten and others are typed?
11 A. No.

12 Q. Frank Colon recommended that Sergeant Mancini get
13 a zero, right?

14 A. Yes.

15 Q. Were you surprised that Major Colon recommended
16 Mancini get a zero?

17 A. Yes.

18 Q. Why?

19 A. Because it's the lowest number.

20 Q. Did you ask Major Colon why he gave Mancini a

21 zero?

22 A. 1 don't recall the specifics and what the

23 conversation was, but 1 would say that 1 was

24 surprised, yes.

25 Q. Do you recall if at the meeting Major Colon spoke

 

 

 

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1 about Sergeant Mancini's work performance?
2 A. 1n particular, 1 don't know if he did.
3 Again, this is a wide-open conversation, that the
4 meeting takes place for a very long time. It's not
5 recorded. 1 don't recall what he said.
6 Q. Do you know if he spoke at all about Mancini?
7 A. I'm not sure.
8 Q. Let‘s look at Page 6. Whose score sheet is this?
9 A. Robert Lepre.
10 Q. What was his position at the time?
ll A. He was a Captain in the Uniform Division.
12 Q. Okay. Do you recognize his handwriting on this

13 sheet?

14 A. Yes.

15 Q. Do you recognize it to be his handwriting?
16 A. Yes.

17 Q. Did he give you this sheet at the meeting or

18 after the meeting?

19 A. After.

20 Q. He gave, he recommended Mancini get a zero,

21 right?

22 A. Yes.

23 Q. Were you surprised that he recommended Mancini
24 get a zero?

25 A. Yes.

 

 

 

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1 Q. Did you ask him why he recommended Mancini get a

2 zero?

3 A. I'm sure 1 did.

4 Q. What did he say?

5 A. 1 don't recall specifically, but I'm sure 1
6 did.

7 Q. Do you recall if Captain Lepre spoke about

8 Mancini’s work performance at this meeting?

9 A. 1 don't recall specifically what Bobby Lepre
10 said, 1 don‘t.

11 Q. Do you know how long, how long did Sergeant

12 Mancini work under Captain Lepre?

13 A. 1 know he would have worked with him along

14 the way. For how long, 1 don't know.

15 Q. How come you don't know how long Mancini worked
16 with all of these supervisors?

17 A. People move. 1 mean, both, not only Mark

18 Mancini, but people underneath move. People up top,
19 whether they're sergeants, lieutenants, captains, they
20 move to different divisions, different bureaus. 1t

21 would be impossible to keep track of how long each

22 officer worked under each sergeant or lieutenant.

23 Q. Well, did you ask anybody, Hey, how long have you
24 worked with this guy?

25 A. I'm sure 1 did in conversation, and say, Did

 

 

 

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1 A. Yes.
2 Q. Do you remember what their recommendations were
3 for chief points for Sergeant Mancini?
4 A. No.
5 Q. Ultimately, you, Chief Clements, decided to award

6 Mancini a zero, right?

7 A. Yes.

8 Q. Okay. So if you look at all the service points
9 that were recommended, it was a three, a zero, a two,
10 a one, a zero, a zero, and a two, that comes out to
11 eight total points from seven different people, which
12 is an average of about 1.14?

13 A. Yes.

14 Q. Why did you decide to give Sergeant Mancini a

15 zero?

16 A. 1t's not an average of all the scores that
17 are turned in or talked about. 1t's not totally

18 something by objectivity. 1 was alarmed by some of
19 the low scores and the number of real low scores. 1n
20 the end, 1 took the advice of the command staff and,
21 including our Deputy Chief, and gave him a zero,

22 Q. Did you place more weight on any one person's

23 recommendation than another?

24 A. 1 would say yes.

25 Q. Whose?

 

 

 

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1 A. The supervisors who were taking over the

2 Patrol Bureau/Uniform Division.

3 Q. Who were they?

4 A. Major Verdi, Captain Lepre, as well as the

5 people who had been there, Lapatin and Campbell, but
6 all of them. You know, it's every single one of them
7 1 gave some weight. 1t's hard for me to identify and
8 break down the percentage of weight 1 gave each one.
9 1 took it all into account, but no, it was all

10 important.

11 Q. You didn't just take Tom Oatesl recommendation,

12 because he's the Deputy Chief, right?

13 A. No, but certainly that means a lot.

14 Q. Okay. All right. So 1 want to know each and

15 every reason why Sergeant Mancini got a zero, 1 don't
16 care if there is one reason or a hundred reasons. 1

17 don't care if the reason is because he's a Red Sox fan

18 and everybody else is a Yankees fan. 1 don‘t really
19 care. 1 want to know every reason he got a zero.
20 MR. MCHUGH: Objection as to form. You

21 can answer.

 

22 Q. Do you under stand the question?

23 A. Yes.

24 Q. Okay.

25 A. So the major reason that Mark got a zero is

 

 

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1 said.

2 Q. Somebody at that meeting said that in Mark

3 Mancini's written performance evaluation it was

4 written that he had difficulty working with peers?

5 A. I'm not saying they said it came from the

6 written evaluation, but it was mentioned. 1 remember
7 George, 1 believe it was George Stamatakos, saying

8 that he was not a team player. He didn‘t make that

9 other comment. 1 don't know who made that comment.
10 Q. Did George Stamatakos give you an example of why
11 he thought Mark Mancini -- strike that. Did George

12 Stamatakos point to any specific conduct by Mark, Mark
13 Mancini that he thought was evidence that he wasn't a

14 team player?

15 A. Not that 1 can recall.

16 Q. 1n awarding the chief points for those who signed
17 up for the June 16, 2012 lieutenants promotional exam,
18 did you consider any of the other candidates prior

19 discipline in formulating or awarding chief points?

20 A. Yes. 1t's always a factor.

21 MR. MCHUGH: Could you go back and read

22 that question?

23 (QUESTION READ BACK)
24 MR. MCHUGH: Thank you.
25 Q. Do you know which ones?

 

 

 

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1 Q. So did you give him, Mark Mancini, a zero because
2 of that transgression in 2000?

3 A. No.

4 Q. When Stamatakos, Mr. Stamatakos said Mancini is

5 not a team player, did you ask him why he felt that

6 way?

7 A. 1 don't recall how the conversation

8 continued, but 1 don't remember where the conversation
9 went from there,

10 Q. What about the incident that happened in 2009 in
11 Homeland Security where you were Sergeant Mancini's

12 manager, and he came to you to complain about being

13 replaced by Mr. Vinacco?

14 MR. MCHUGH: Objection to the form, use
15 of the word incident. You can answer.

16 Q. Do you remember talking about that last week?
17 A. Yes.

18 Q. Did you consider Mancini -- strike that. 1

19 believe you testified that Mancini was badmouthing the
20 administration because Officer Vinacco replaced him in
21 Homeland Security, right?

22 A. Yes. He was upset by being removed.

23 Q. Did you consider the fact that Mancini was

24 badmouthing the administration, did you factor that

 

25 into your decision to award him zero chief points?

 

 

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1 A. Yes. With his overall attitude and
2 performance, yes.
3 Q. Did you give him a zero because he complained
4 about the administration?
5 A. No.
6 Q. What role, if any, did that incident have in your
7 decision to award him zero?
8 A. 1t had some. 1 can't quantify an amount or
9 percentage.
10 Q. Did you think he was being unreasonable for being
11 upset by being replaced by Vinacco?
12 A. 1 did, because Vinacco was out on military
13 leave. 1 didn't know the understanding before Vinacco
14 left. 1 wasn't there when Vinacco went to military
15 service, but it would have been my understanding that
16 when he returned from his military assignment that he
17 would go back to his assignment.
18 Q. What specifically did Mancini say about the
19 administration that you believed, that you believe
20 constituted badmouthing?
21 A. Specifically, 1 don't know. Just he was
22 upset with the administration, 1 remember with the
23 Colonel and with, Colonel Esserman and Commander
24 Kennedy for removing him from that assignment.
25 Q. Did he make insulting comments about Esserman and

 

 

 

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1 I'm sure 1 did.
2 Q. Isn't that part of normal human behavior to do
3 that?
4 MR. MCHUGH: ijection as to form. You
5 can answer.
6 A. Yes.
7 Q. You didn't discipline Mancini at the time for his

8 comments, his negative comments about the

9 administration, did you?

10 MR. MCHUGH: Objection as to form.

11 A. No.

12 Q. You could have, right?

13 A. Yes.

14 Q. Did you at all participate in awarding Mancini

15 service points before you became the Police Chief?

16 A. Yes.

17 Q. When was the last time you made a recommendation
18 of service points for Mancini before you became Police

19 Chief?

20 A. 1 believe it was that 2010 test.

21 Q. What did you recommend that he get?

22 A. 1 don't have any form with me, but 1 believe
23 five.

24 Q. Okay. You thought at the time he was performing

25 at the highest possible level as a police officer,

 

 

 

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1 Martha's Vineyard for the weekend with his girlfriend.
2 1 would say that's someone that's not a team player;

3 would you agree with that?

4 MR. MCHUGH: Objection to form.
5 A. Yes.
6 Q. What did Mark Mancini do, what was his conduct

7 that caused you to formulate the belief that in 2010

8 he wasn't a team player?

9 A. 1 can‘t speak to any individual performance
10 of conduct to answer that.

11 Q. So it sounds like you‘re lumping in negative

12 attitude and not being a team player with the negative
13 comments he made about the administration when he was

14 replaced by Vinacco, correct?

15 MR. MCHUGH: Objection to form.
16 A. Correct.
17 Q. None of the folks that were present at that

18 meeting to award chief points in 2012 can give you any
19 specific examples of why they thought Mark Mancini was

20 not a team player, right?

21 A. There were lengthy conversations. 1 don't
22 recall specifically what was said. These meetings
23 last an hour, hour and-a-half. We're speaking about
24 22 names. Again, there is a lot of conversation.

25 Specifically 1 don't recall what was said even on some

 

 

 

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1 of the other candidates.
2 Q. Did anyone who was present at that meeting

3 mention Mark Mancini's transgression that happened in

4 2000?
5 A. Not that 1 recall. They may have.
6 Q. 1 believe last week you testified that somebody

7 said Mancini just comes to work and leaves; do you

8 remember that?

9 A. Yes.

10 Q. Who said that?

11 A. 1 don't know who said that.

12 Q. In what context did the person say it in?

13 A. 1n the context that, you know, 1 believe the

14 general conversation is a lot of these guys will go to

15 community events on the weekend or will work overtime

16 for community events. Others come to work, they do
17 their shift. Unless forced for overtime, they're
18 gone.

19 Q. Did Mark Mancini get a zero because he didn't

20 participate in community events?

21 A. Specifically, no.

22 Q. Did Mark Mancini get a zero because he didn't
23 request overtime?

24 A. Specifically, no.

25 Q. Would you agree with me that participating in

 

 

 

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1 A. 1 did.
2 Q. What is every factor that you consider in overall

3 performance when awarding service points?

4 THE WITNESS: Every factor?
5 MR. GAGLIARDI: YeS.
6 A. Overall work performance, the ability to

7 communicate, to motivate, to build a team within their
8 district, and to accomplish the overall mission of the
9 police department in a positive way.

10 Q. You ultimately determined that Mark Mancini

11 didn't meet any of those criteria, right, because he
12 got a zero?

13 A. 1 ultimately took into account the scores

14 provided to me by the command staff which led to my

15 giving Mark a zero,

16 Q. Well, what did the command staff and supervisors,
17 what factors do they consider in assessing overall

18 performance?

19 MR. MCHUGH: Objection as to form. You
20 can answer.

21 A. Not sure individually.

22 Q. Did you ever have a discussion amongst the

23 command staff and supervisors at one of these

24 meetings, This is the criteria we need to evaluate

25 these candidates on when awarding service points, so

 

 

 

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1 that there is a uniform way of awarding them?
2 MR. MCHUGH: Objection as to form. You
3 can answer.
4 A. We had many conversations surrounding that
5 particular point. We, at the time of this awarding of

6 service points, we had never nailed down exactly what
7 that was going to be.

8 Q. Doesn't it say in the collective bargaining

9 agreement what overall performance is letters of

10 commendation, letters of recommendation, sick time?

11 MR. MCHUGH: Objection as to form. You
12 can answer. You can look at the exhibit, too, if you
13 want.

14 A. 1t says very vaguely what overall performance
15 is, yes.

16 Q. Let's talk about the June 23, 2012 sergeants

17 promotional exam that happened a week later. Did you
18 utilize the same procedure for awarding service points
19 for that exam as you did with the lieutenants

20 promotional exam?

21 A. Yes.
22 Q. Exactly the same procedure?
23 MR. MCHUGH: Objection as to form. You

24 can answer.

25 A. As far as handing out the form and discussing

 

 

 

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1 move into his old office?

2 A. No. It was a different location.

3 Q. What happened to all his paper files, filing

4 cabinets, if you know?

5 A. Some were, some main files were kept in the

6 outer office, but his personal files, he took

7 everything.

8 Q. Do you recall anybody at this 2010 meeting saying
9 that Mark Mancini had a negative attitude?

10 A. 1 don't recall.

11 Q. Do you recall if anybody at this 2010 meeting

12 said Mark Mancini was not a team player?

13 A. 1 don't remember.

14 Q. Do you recall if anybody at the 2010 meeting

15 recommended Mark Mancini get a zero?

16 A. 1 don't remember.

17 Q. Okay. So in 2010 you recommended Mancini get a
18 five, and then two years later you believed he should
19 get a zero, correct?

20 A. Yes.

21 Q. What happened in that two-year period that caused
22 you to believe that his work performance went from the
23 highest level to the lowest level?

24 A. Again, 1 don't have my sheet that 1 handed in

 

25 fom 2010. 1 believe 1 gave him a five. What happened

 

 

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1 was there was a complete change in the command staff

2 of the police department. The Chief was gone. There
3 were different Majors, Captains. The entire command

4 staff had changed.

5 There was always that feeling of it's only a

6 relatively small number of, it's only a small latitude
7 that the department has in promoting for rank,

8 5 percent. We grade upon that. The points should be
9 more meaningful, the service points.

10 Q. Right, but how does that explain him going from a
11 five to a zero? 1 understand you want it to be a

12 stricter grader. 1 get that. How do you go from a

13 five to a zero in two years?

14 A. Again, 1 took highly the recommendations of
15 the command staff. 1 don't know why they forwarded

16 certain points the way they did. 1 think 1've

17 indicated, you know, in my leadership over Mark, 1

18 never had a problem with Mark. He worked for me

19 several steps along the way.

20 Near the end, he was upset with that removal from
21 Homeland Security. Then he didn't work for me, or he
22 did in patrol, Then some of these other bosses did

23 have direct contact with him, We ask for them to rate

24 the people under their command and the people on the

25 job to the best of their ability. They feel fit to

 

 

 

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1 forward those scores to the office, so we can come up
2 with a final determination of the service points.

3 Q. Okay. Mancini signed up for a promotional exam

4 earlier this year, correct?

5 A. Yes.

6 Q. Do you remember what he got for chief points this

7 year?

8 A. Yes.

9 Q. What did he get?

10 A. Four.

11 Q. So he went from a five in 2010 to a zero in 2012

12 to a four in 2015, right?

13 MR. MCHUGH: Objection to form. You can
14 answer.

15 A. Yes.

16 Q. So what was it about Mark Mancini's work

17 performance that changed from 2012 to 2015 that caused
18 him to go, that caused you, Hugh Clements, to evaluate
19 him, change his overall performance evaluation from a

20 zero to a four?

21 MR. MCHUGH: Objection to form. You can
22 answer.
23 A. The main reason was the supervisor in charge

24 of the Uniform Division, 1 rely heavily on what they

25 tell me, Major Verdi and the Captains in charge. And

 

 

 

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1 if 1 could take a step back, there are several people
2 along the way who are given lesser scores on one exam
3 and do far better on future exams.

4 On this particular one for all the candidates 1
5 asked the bosses down in patrol what they recommended
6 for their people. And in specific, they recommended
7 four for Mark Mancini.

8 Q. So when did this, when was the most recent

9 lieutenants promotional exam?

10 A. 1 think it was February, 1 think. I'm not

11 positive.

12 Q. February 2015?
13 A. 1 believe so.
14 Q. Did you follow the same procedure for awarding

15 chief points that you followed in 2012 for the

16 sergeants and lieutenants exams?

17 A. Pretty much forwarding the list out there and
18 waiting on the information to come back from the

19 respective supervisors.

20 Q. Did you hold a meeting in February of 2015 to

21 discuss the award of chief points for those who were

22 going to sit for the February 2015 lieutenants exam?

23 A. Yes.
24 Q. Who was present at that meeting?
25 A. 1t would have been the same command staff,

 

 

 

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1 scores from four months ago?
2 .MR. MCHUGH: Objection to form. You can
3 answer.
4 A. 1n preparing for this testimony.
5 Q. Okay. So you ultimately decided to give Mancini
6 a four in 2015, right, for service points?
7 A. Correct.
8 Q. Did you base it on the command staff and
9 supervisors' recommendations?
10 A. Mainly the Uniform Division/Patrol Bureau
11 recommendations.
12 Q. Did Mancini get a four because he is no longer on

13 IOD status?

14 A. No.

15 Q. Did Mancini get a four because of that lawsuit?
16 A. No.

17 Q. 1 mean, you have to concede, Chief Clements, he

18 went from a five to a zero to a four in five years. 1

19 mean, don‘t you agree with me that that's strange?

20 MR. MCHUGH: Objection as to form. You

21 can answer.

22 A. Again, 1 highly, 1 highly regard the advice

23 from people who are in charge of those divisions, He

24 had been doing a very good, a decent job in

25 Districts 2 and 3.

 

 

 

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